              Case: 1:15-cv-10196 Document #: 7 Filed: 11/17/15 Page 1 of 3 PageID #:34

(Revised 12/11)
                          United States District Court Northern District of Illinois
                          MOTION FOR LEAVE TO APPEAR PRO HAC VICE
Case Title:                                                                                                          Plantiff(s)
                  Segovia et al
                                                                            VS.

                  Board of Election Commissioners for the City of Chicago et al                                      Defendant(s)


Case Number: 1:15-cv-10196                                        Judge: Honorable Joan B. Gottschall


     Geoffrey M. Wyatt                                                                                      hereby apply to the Court


under Local Rule 83.14 for permission to appear and participate in the above-entitled action on behalf of

the Plaintiffs                                                                                     by whom I have been retained.

I am a member in good standing and eligible to practice before the following courts:

                                                Title of Court                                                          DateAdmitted

                                          Please see attached list.




I have currently, or within the year preceding the date of this application, made pro hac vice applications to this
Court in the following actions:
                                                                                                            Date of Application
    Case Number                                             Case Title                                      (Granted or Denied)*

                                                                N/A




*If denied, please explain:
(Attach additional form if
necessary)
Pursuant to Local Rule 83.I5(a), applicants who do not have an office within the Northern District of Illinois must designate, at the
time of filing their initial notice or pleading, a member of the bar of this Court having an office within this District upon who service of
papers may be made.

                                   Has the applicant designated local counsel? Yes                          No     L
If you have not designated local counsel, Local Rule 83.15(b) provides that the designation must be made within thirty (30) days.
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Has the applicant ever been:

censured, suspended, disbarred, or otherwise disciplined by any court?                Yes Li                No      ✓

or is the applicant currently the subject of an investigation of the
applicant's professional conduct?                                                    Yes                    No

transferred to inactive status, voluntarily withdrawn, or resigned from the
bar of any court?                                                                    Yes    E               No     CS
denied admission to the bar of any court?                                             Yes                   No


held in contempt of court?                                                            Yes
                                                                                            U               No

NOTE: If the answer to any of the above questions is yes, please attach a brief description of the incident(s) and the applicant's current
status before any court, or any agency thereof, where disciplinary sanctions were imposed, or where an investigation or investigations
of the applicant's conduct may have been instituted.

I have read the Rules of Professional Conduct for the Northern District of Illinois and the Standards for Professional Conduct within
the Seventh Federal Judicial Circuit, and will faithfully adhere to them. I declare under penalty of perjury that the foregoing is true and
correct.


11/12/15                                                 si Geoffrey M. Wyatt

                 Date                                               Electronic Signature of Applicant

                            Last Name                                         First Name                            Middle Name/Initial
Applicant's Name
                           Wyatt                                              Geoffrey                              M.

Applicant's Law Firm       Skadden, Arps, Slate, Meagher & Flom LLP

                            Street Address                                                                          Room/Suite Number
Applicant's Address
                           1440 New York Avenue, N.W.

                            City                         State                ZIP Code            Work Phone Number

                           Washington                   DC                   20005-2111           202-371-7008

(The pro hac vice admission fee is $100.00 for cases filed before February 1, 2001, and $50.00 for cases filed on or after that
date, and shall be paid to the Clerk. No admission under Rule 83.14 is effective until such time as the fee has been paid.)



NOTE: Attorneys seeking to appear pro hac vice may wish to consider filing a petition for admission to the general bar of this Court. The
      fee for admission to the General Bar is $176.00 The fee for pro hac vice admission is $100.00 for cases filed before February 1,
      2001, and $50.00 for cases filed after that date. Admission to the general bar permits an attorney to practice before this Court.
      Pro hac vice admission entitles an attorney to appear in a particular case only. Application for such admission must be made in
      each case; and the admission fee must be paid in each case.
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                       GEOFFREY WYATT'S BAR ADMISSIONS

State                          Status            Admission date   Bar number

New York                       active            May 25, 2005     4311247

District of Columbia           active            June 12, 2006    498650


Federal Court                                    Admission date

Supreme Court of the U.S.                        Dec. 10, 2008

U.S. Court of Appeals for the Second Circuit     July 5, 2011

U.S. Court of Appeals for the Third Circuit      June 24, 2014

U.S. Court of Appeals for the Fifth Circuit      Aug. 25, 2009

U.S. Court of Appeals for the Sixth Circuit      July 22, 2013

U.S. Court of Appeals for the Seventh Circuit    Mar. 27, 2009

U.S. Court of Appeals for the Ninth Circuit      Feb. 20, 2009

U.S. Court of Appeals for the Eleventh Circuit   Aug. 8, 2005

U.S. Court of Appeals for the D.C. Circuit       Jan. 16, 2007

U.S. District Court for the District of D.C.     Jan. 9, 2012
